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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               TERRE HAUTE DIVISION


 UNITED STATES OF AMERICA,                   )
                                             )
              Plaintiff,                     )
                                             )       2:08-CR-015-WTL-CMM-04
       v.                                    )
                                             )
 DONALD A MYERS,                             )
                                             )
              Defendant.


                       COURTROOM MINUTES FOR JUNE 3, 2009
                             CRIMINAL PROCEEDINGS
                        HON. WILLIAM T. LAWRENCE, JUDGE

 GOVERNMENT APPEARS BY: Bradley Blackington
 DEFENDANT IN PERSON AND WITH COUNSEL: Joseph Cleary
 PROBATION OFFICER PRESENT: Shelly McKee, Michelle Fitzgerald
 COURT REPORTER: Jean Knepley

       The hearing on defendant’s Petition to Enter a Plea of Guilty began.

        The Court inquired of the defendant if the defendant understood the rights that
 the defendant would relinquish if the Court accepted the defendant’s plea of guilty to
 Count 1 of the Indictment. Based on the questions asked of the defendant by the Court
 and the defendant’s responses to those questions, the Court was satisfied that the
 defendant was competent to enter a plea of guilty that the defendant's plea was made
 knowingly and willingly. After hearing and accepting the factual basis for the plea, the
 Court accepted the defendant’s plea of guilty to Count 1 of the Indictment.

       The Court accepted the Plea Agreement that had been reached pursuant to
 Federal Rule of Criminal Procedure 11(c)(1)(B) and adjudged defendant guilty of the
 charges alleged in Count 1 of the Indictment.
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 Copies to:

 U.S. Marshal
 U.S. Probation
 Court Reporter

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